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          16
                                       UNITED STATES DISTRICT COURT
          17
                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
          18                                SOUTHERN DIVISION
          19       MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
          20       CERCACOR LABORATORIES, INC.,
                   a Delaware corporation,                  MEMORANDUM OF POINTS AND
          21                                                AUTHORITIES IN SUPPORT OF
                                      Plaintiffs,           DEFENDANT APPLE INC.’S
          22                                                MOTION TO DISMISS THE
                         v.                                 THIRTEENTH CAUSE OF ACTION
          23                                                FOR TRADE SECRET
                   APPLE INC.,                              MISAPPROPRIATION IN
          24       a California corporation,                PLAINTIFFS’ FIRST AMENDED
                                                            COMPLAINT
          25                          Defendant.
                                                            Hearing
          26
                                                            Date:            Date: June 8, 2020
          27                                                Time:            1:30 p.m.
                                                            Courtroom:       10C
          28                                                Judge:           Hon. James V. Selna

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            1                                TABLE OF ABBREVIATIONS
            2
            3       Abbreviation                Document
            4       Apple                       Defendant Apple Inc.
            5
                    Masimo                      Plaintiff Masimo Corporation
            6
                    Cercacor                    Plaintiff Cercacor Laboratories, Inc.
            7
            8       Plaintiffs                  Masimo and Cercacor, collectively

            9       Original Complaint,         Plaintiffs’ Original Complaint (Dkt. No. 1)
                    Compl.
          10
          11        FAC                         Plaintiffs’ First Amended Complaint (Dkt. No. 28)

          12        ’265 patent                 U.S. Patent No. 10,258,265
          13        ’266 patent                 U.S. Patent No. 10,258,266
          14
                    ’628 patent                 U.S. Patent No. 10,292,628
          15
                    ’708 patent                 U.S. Patent No. 10,299,708
          16
          17        ’190 patent                 U.S. Patent No. 10,376,190

          18        ’191 patent                 U.S. Patent No. 10,376,191
          19        ’695 patent                 U.S. Patent No. 10,470,695
          20
                    ’994 patent                 U.S. Patent No. 6,771,994
          21
                    ’703 patent                 U.S. Patent No. 8,457,703
          22
          23        ’776 patent                 U.S. Patent No. 10,433,776

          24        ’553 patent                 U.S. Patent No. 10,588,553
          25        ’554 patent                 U.S. Patent No. 10,588,554
          26
                    ’052 patent                 U.S. Patent No. 10,078,052
          27
                    ’095 patent                 U.S. Patent No. 9,952,095
          28

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            1
                    ’754 patent                 U.S. Patent No. 10,219,754
            2
                    ’997 patent                 U.S. Patent No. 9,723,997
            3
            4       ’196 application            U.S. Patent Application No. 14/740,196

            5       ’726 publication            U.S. Patent Publication No. 2016/0061726
            6       ’268 application            U.S. Patent Application No. 14/621,268
            7
                    ’422 application            U.S. Patent Application No. 14/617,422
            8
                    ’664 application            U.S. Patent Application No. 14/618,664
            9
          10        CUTSA                       The California Uniform Trade Secret Act

          11        DTSA                        The Defend Trade Secrets Act of 2016
          12        RJN                         Apple’s Request for Judicial Notice in Support of
          13                                    Defendant’s Motion to Dismiss (filed concurrently
                                                herewith)
          14
                    RJN Decl.                   Samplin Declaration in Support of Apple’s Request for
          15                                    Judicial Notice
          16
                    USPTO                       U.S. Patent and Trademark Office
          17
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            1                                     I.     INTRODUCTION
            2
                         The FAC does nothing to change the fact that Plaintiffs’ CUTSA claim is fatally
            3
                   flawed. To the contrary, the FAC confirms that the claim is untimely. And the shifting
            4
                   list of alleged trade secrets, which now number in the thousands, makes it impossible
            5
                   for the Court or Apple to determine if there are any real trade secrets at issue, let alone
            6
                   ones Apple knew about. The claim should be dismissed for at least three reasons.
            7
                         First, as to timeliness, the FAC confirms that Plaintiffs suspected Apple of
            8
                   misappropriation as early as 2014, and that the period for filing a CUTSA claim has
            9
                   therefore expired. That year, Plaintiffs wrote that they could not imagine a reason for
          10
                   Apple to hire their former employee Marcelo Lamego other than misappropriation.
          11
                   This suspicion triggered the running of the three-year statute of limitations as a matter
          12
                   of law. Furthermore, in 2016, the USPTO published an Apple patent application listing
          13
                   Lamego as an inventor and relating to the field of healthcare monitoring technology—
          14
                   mobile health applications and the measurement of physiological data—in which
          15
                   Plaintiffs asserted in 2014 that Lamego could not possibly work without disclosing their
          16
                   trade secrets. Therefore, even under Plaintiffs’ theory, the statute of limitations was
          17
                   triggered no later than 2016—more than three years before Plaintiffs filed this lawsuit.
          18
                         Plaintiffs   cannot escape     their   2014    concession    that   they suspected
          19
                   misappropriation or the 2016 patent publication that identifies Lamego and relates to the
          20
                   same technology field as the information they now claim as trade secrets. The test for
          21
                   timely discovery of a CUTSA claim is whether Plaintiffs knew, or should have known
          22
                   by the exercise of reasonable diligence, of the alleged misappropriation. Cal. Civ. Code
          23
                   § 3426.6. Plaintiffs must plead specific facts explaining why a reasonable investigation
          24
                   would not have put them on notice. Klang v. Pflueger, 2014 WL 4922401, at *6 (C.D.
          25
                   Cal. July 10, 2014). Plaintiffs fail this test. Plaintiffs give a long list of irrelevant
          26
                   excuses, but fail to explain how they were not on notice in 2014 when they not only
          27
                   suspected misappropriation, but also told Apple that they could not imagine a reason for
          28
                   Apple’s actions other than misappropriation. Plaintiffs also provide no explanation as
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            1       to how the 2016 patent publication differed from the later-published patents that
            2       Plaintiffs now allege disclosed their trade secrets. This omission is particularly glaring
            3       given that the FAC asserts correction of inventorship and ownership claims not only for
            4       the Apple patent that issued from the 2016 published application (the ’052 patent), but
            5       also for later-published Apple patents that allegedly disclose Plaintiffs’ trade secrets.
            6       Furthermore, the FAC alleges that all of these patents contain subject matter obtained
            7       from Masimo employees. These facts—which appear in the FAC or are judicially
            8       noticeable—doom Plaintiffs’ trade secret claim as a matter of law.
            9             Second, the FAC further obscures the alleged trade secrets. Plaintiffs expanded
          10        the open-ended list of seven broad categories of information in the Original Complaint
          11        to an even broader (and still open-ended) list of 50 categories of generic documents and
          12        information, as well as unidentified combinations and generalized knowledge of those
          13        categories, in the FAC. FAC ¶ 211. Plaintiffs ask the Court to accept that within one
          14        paragraph of their FAC, they have pleaded thousands of combinations of trade secrets
          15        with sufficient detail. They have not. The countless categories are “more descriptive of
          16        the types of information that generally may qualify as protectable trade secrets than as
          17        any kind of listing of particular trade secrets [Plaintiffs] ha[ve] a basis to believe actually
          18        were misappropriated.” Vendavo, Inc. v. Price f(x) AG, 2018 WL 1456697, at *4 (N.D.
          19        Cal. Mar. 23, 2018). More troubling still, Plaintiffs allege that certain of their trade
          20        secrets already have been made public in patent filings—and appear to concede that all
          21        of the alleged trade secrets may be public insofar as they allege that each trade secret
          22        was not public “at least at the time of Defendant’s misappropriation.” FAC ¶ 212.
          23        Plaintiffs have no reason for failing to identify public trade secrets in the FAC; this
          24        failure prevents Apple and the Court from assessing the viability of the CUTSA claim.
          25              Third, Plaintiffs still fail to allege that Apple had requisite knowledge under the
          26        CUTSA to establish that Apple acquired their alleged trade secrets by improper means.
          27        The FAC does not allege any facts suggesting that Apple knew or had reason to know
          28        which specific information from Plaintiffs’ former employee (Lamego) came from

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            1       Plaintiffs, let alone the specific information that Lamego purportedly was banned from
            2       using. Nor can it, because the trade secrets are alleged to be so vague that, as Plaintiffs
            3       concede, Lamego would not be permitted to work at all in the healthcare technology
            4       industry if all of the alleged information were in fact a trade secret. Furthermore,
            5       Plaintiffs cannot base their CUTSA claim on the doctrine of inevitable disclosure—that
            6       because one or two people worked for Plaintiffs and then came to Apple, they must have
            7       disclosed unspecified trade secrets in their new employment. California law, this Court,
            8       and others in this Circuit have roundly rejected such a theory.
            9             The trade secrets claim is time-barred and fatally vague, and should be dismissed.
          10                                        II.   BACKGROUND 1
          11        A.    Plaintiffs Allege an Effort by Apple to Misappropriate Their Trade Secrets
                          More Than Six Years before Filing This Action.
          12
          13              According to the FAC, in 2013, Apple contacted Masimo “to understand more

          14        about Masimo’s technology,” “entered into a confidentiality agreement” with Masimo,

          15        and had “confidential discussions” with Masimo’s management. FAC ¶ 19. Then,

          16        Apple “recruited . . . key Masimo personnel,” including O’Reilly, Masimo’s former

          17        Chief Medical Officer, and Lamego, former Cercacor CTO. Id. ¶¶ 19–21. “O’Reilly

          18        was privy to extremely sensitive information . . . about mobile medical products and

          19        applications, wellness applications, clinical data gathering and analytics, and other

          20        technology of Masimo.” Id. ¶ 20. Lamego had access to “highly confidential technical

          21        information,” “was taught about the keys to effective non-invasive monitoring,” and

          22        “learned guarded secrets regarding Plaintiffs’ mobile medical products.” Id. ¶ 22.

          23              By January 2014, Plaintiffs were suspicious of Apple’s conduct, including its

          24        hiring of Lamego. On January 24, 2014, they sent Apple a letter “explaining that

          25        Lamego possessed Plaintiffs’ confidential proprietary information and warning Apple

          26        to respect [their] rights in such information.” Id. ¶ 23. The letter cautioned, “we trust

          27        that Apple will employ Mr. Lamego in an area that does not involve healthcare

          28         1
                       The allegations in the Original Complaint and the FAC are treated as true for
                    purposes of this motion only.
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            1       technology, including mobile health applications and the measurement of physiological
            2       information.” Id. The FAC quotes and refers to the letter (id. at ¶¶ 23, 216, 220), but
            3       fails to cite two admissions in the letter, or attach it. RJN Decl. Ex. A. First, the letter
            4       stated that Plaintiffs found it “difficult to imagine any reason for [Apple’s conduct] other
            5       than [that] Apple [was] attempting to gain access to, or . . . the benefit of, [their] trade
            6       secrets.” RJN Decl. Ex. A, at 4. Second, the letter accused Apple of “targeting”
            7       Plaintiffs’ “personnel for some time.” Id. 2 The letter also demanded that Apple not
            8       employ Lamego in the field of “healthcare technology,” because doing so “necessarily
            9       [would] involve the use or disclosure of [Cercacor’s] trade secrets.” Id.; see FAC ¶ 23.
          10        Yet in the next six years—even after it became public that Lamego did work for Apple
          11        on the same technology to which Plaintiffs’ alleged trade secrets supposedly relate (e.g.,
          12        RJN Decl. Ex. B)—Plaintiffs did nothing.
          13        B.    A Published Patent Application Put Plaintiffs on Notice of Their Alleged
                          Claim More Than Three Years Before They Filed.
          14
          15              Plaintiffs allege that Apple “used and disclosed Plaintiffs’ Confidential

          16        Information at least by . . . filing patent applications containing” that information. FAC

          17        ¶ 218. They concede that “shortly after joining Apple in January 2014, Lamego began

          18        pursuing on behalf of Apple numerous patent applications directed toward technologies

          19        he worked on at Plaintiffs, and with which he had no prior experience or knowledge.”

          20        Id. ¶ 24. The Original Complaint alleged this without qualification (Compl. ¶ 23);

          21        Plaintiffs now allege such facts were “[u]nbeknownst to Plaintiffs” in 2014 (FAC ¶ 24).

          22              Despite Plaintiffs’ newly claimed ignorance, the FAC still demonstrates that

          23        Plaintiffs knew or should have known about Lamego’s pursuit of at least one relevant

          24        Apple patent application by at least March 2016: The ’196 application was published

          25        as the ’726 publication on March 3, 2016, naming Lamego as an inventor in the field of

          26       healthcare technology. See id. ¶ 39 (citing the ’196 application, which issued as the ’052

          27        patent that is the subject of the Fourteenth Cause of Action); id. Ex. 27, at 1147 (’052

          28         2
                      By September 2014, “Apple announced the first version of its watch”—an ostensibly
                    competing technology. FAC ¶ 25.
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            1       patent, Prior Pub. Data); RJN Decl. Ex. B, at 11 (’726 publication, Pub. Date). That
            2       application is entitled “Reflective Surface Treatments For Optical Sensors,” and relates
            3       to “electronic . . . optical sensing systems” that “can be adapted to obtain physiological
            4       data from a biological subject.” FAC Ex. 27, at 1154 (’052 patent, Title, 1:16–18, 1:45–
            5       48); RJN Decl. Ex. B, at 11, 18 (’726 publication, Title, ¶¶ 2, 5). Indeed, the Original
            6       Complaint listed the ’196 patent application, which published as the ’726 publication,
            7       as the first example of an application that allegedly included technologies with which
            8       Lamego was intimately involved while working at Plaintiffs. Compl. ¶¶ 23–24, 187.
            9             Thus, a patent application that (i) referenced healthcare technology on which
          10        Lamego was purportedly prohibited from working because, according to Plaintiffs, he
          11        was incapable of doing so without using their confidential information (FAC ¶ 23; RJN
          12        Decl. Ex. A, at 4–5), and (ii) named Lamego as inventor, was publicly available more
          13        than three years before Plaintiffs filed this action. The Original Complaint conceded
          14        this publicly available application was an example of an application allegedly containing
          15        information that Lamego acquired from them. Compl. ¶¶ 23–24. Nonetheless, Plaintiffs
          16        now claim it was reasonable that they did nothing in the ensuing three years.
          17              The FAC contains no explanation for Plaintiffs’ delay. Plaintiffs do not explain:
          18        (1) why the ’726 publication did not put them on notice of the alleged misappropriation,
          19        or (2) how the ’726 publication is different from those later-published patents that
          20        Plaintiffs assert do contain their alleged trade secrets (see FAC ¶ 220)—even though the
          21        ’726 publication relates to the same technology as the later-published patents (see, e.g.,
          22        Ex. 29, at 1193 (’095 patent, 1:15–19)), and Plaintiffs allege that the subject matter of
          23        the ’726 publication (as disclosed in the resultant ’052 patent) and these later-published
          24        patents all came from Masimo’s employees (see, e.g., FAC ¶¶ 227, 241, 248). Plaintiffs
          25        are also silent as to why they do not allege that the ’196 patent application, which
          26        published as the ’726, is an example of an application containing their alleged secrets.
          27                                     III.   LEGAL STANDARD
          28              A complaint must contain “sufficient factual matter, accepted as true, to state a

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            1       claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
            2       For a claim to be facially plausible, a plaintiff must plead “factual content that allows
            3       the court to draw the reasonable inference that the defendant is liable for the misconduct
            4       alleged.” Id. at 678. Dismissal is warranted where a complaint fails to “raise a right to
            5       relief above the speculative level.” Bell Atl. v. Twombly, 550 U.S. 544, 555 (2007).
            6       “Threadbare recitals of the elements of a [claim], supported by mere conclusory
            7       statements, do not suffice.” Iqbal, 556 U.S. at 678.
            8                  IV.    PLAINTIFFS’ CUTSA CLAIM SHOULD BE DISMISSED.
            9       A.    Plaintiffs’ CUTSA Claim Is Time-Barred.
          10              A CUTSA claim “must be brought within three years after the misappropriation
          11        is discovered or by the exercise of reasonable diligence should have been discovered.”
          12        Cal. Civ. Code § 3426.6. Thus, “the statute of limitations begins to run when a plaintiff
          13        discovers, or has reason to discover, the cause of action.” Klang, 2014 WL 4922401, at
          14        *1–2, *5–6 (dismissing CUTSA claim where patent applications disclosing invention
          15        published five years before filing). Suspicion starts the clock: “[w]hen there is reason
          16        to suspect” misappropriation, “and a reasonable investigation would produce facts
          17        sufficient to confirm this suspicion . . ., the limitations period begins, even though the
          18        plaintiff has not conducted such an investigation.” Hays v. VDF Futureceuticals, Inc.,
          19        2016 WL 5660395, at *3 (D. Haw. Sept. 28, 2016) (applying California law and granting
          20        motion to dismiss because “suspicion of wrongdoing will trigger the statute of
          21        limitations”); see also MGA Entm’t, Inc. v. Mattel, Inc., 41 Cal. App. 5th 554, 564 (Cal.
          22        Ct. App. 2019) (“[o]nce [plaintiff] had reason to suspect an injury and some wrongful
          23        cause, the statute [of limitations]. . . began to run” on CUTSA claim); Cypress
          24        Semiconductor Corp. v. Super. Ct., 163 Cal. App. 4th 575, 587 (Cal. Ct. App. 2008)
          25        (“[M]isappropriation that triggers . . . the statute is that which the plaintiff suspects”).
          26              1.         The Limitations Period Began More Than Three Years Ago.
          27              The statute was triggered in 2014. The FAC makes clear that Plaintiffs suspected
          28        Apple of misappropriating their alleged trade secrets in 2014. After Apple and Masimo

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            1       met to discuss a “potential collaboration” in 2013, and Lamego “join[ed] Apple in
            2       January 2014” (FAC ¶¶ 19, 21, 24), Plaintiffs immediately “warn[ed] Apple to respect
            3       [their] rights” in their “confidential proprietary information” (id. ¶ 23). The January 24,
            4       2014 “warning” letter confirms Plaintiffs’ suspicions and is fatal to their CUTSA claim.
            5       The letter states that “[i]t is difficult to imagine any reason for th[e] sequence of events
            6       other than Apple is attempting to gain access to, or at least the benefit of, Cercacor and
            7       Masimo’s trade secrets.” RJN Decl. Ex. A, at 4 (emphasis added); see, e.g., Gabriel
            8       Techs. Corp. v. Qualcomm Inc., 857 F. Supp. 2d 997, 1004-06 (S.D. Cal. 2012) (email
            9       between plaintiff’s employees saying defendant committed a “direct rip-off” of
          10        plaintiff’s trade secret “established that [plaintiff] had a suspicion of wrong doing which
          11        triggered the statute of limitations”); cf. Forcier v. Microsoft Corp., 123 F. Supp. 2d 520,
          12        530–31 (N.D. Cal. 2000) (suspicion triggered limitations period for interference claim
          13        where defendant hired two employees allegedly possessing plaintiff’s trade secrets to
          14        develop competing technology and file patent applications, and plaintiff sent a letter to
          15        defendant with “concern[] . . . that [defendant] might make use of the [misappropriated]
          16        technology”). Plaintiffs “had a suspicion that [Apple] had misappropriated [their] trade
          17        secrets” and “articulated that suspicion” in the January 2014 letter (MGA Entm’t, 41 Cal.
          18        App. 5th at 565), and it was “common knowledge” by September 2014 that Apple was
          19        pursuing similar technology (Alamar Biosciences Inc. v. Difco Labs. Inc., 1996 WL
          20        648286, at *4 (E.D. Cal. Feb. 27, 1996)), when Apple “announced the first version of its
          21        watch” (FAC ¶ 25). Plaintiffs were on notice of their claim by 2014.
          22              The statute was alternatively triggered in 2016. The “publication of patents (and
          23        now patent applications) must be deemed, as a matter of law, to place those practicing
          24        in the same field and prosecuting their own patent applications . . . on full notice of all
          25        of the contents of the publication.” Wang v. Palo Alto Networks, Inc., 2014 WL
          26        1410346, at *6 (N.D. Cal. Apr. 11, 2014); see Alta Devices, Inc. v. LG Elecs., Inc., 2019
          27        WL 1924992, at *14 (N.D. Cal. Apr. 30, 2019) (reliance on Wang (a summary judgment
          28        case) for a motion to dismiss proper because the “Court takes as true . . . the allegations

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            1       in [the] complaint”). Courts routinely find that patent applications and patents trigger
            2       the statute of limitations for sophisticated parties like Plaintiffs, especially when they
            3       are trying to “commercialize [their] own technologies.” Wang, 2014 WL 1410346, at
            4       *6; Hays, 2016 WL 5660395, at *5 (dismissing analogous Hawaii trade secrets claim,
            5       and holding that “statute . . . began to run when the patents were issued” because the
            6       patents sufficiently described the methods at issue for Plaintiff “at least to suspect a
            7       factual basis for [the] elements” of his claim).
            8             Here, Plaintiffs cannot escape that the ’726 application, naming Lamego as an
            9       inventor, published on March 3, 2016. RJN Decl. Ex. B, at 11; FAC Ex. 27, at 1147.
          10        The ’726 publication relates to the same category of information—physiological
          11        measurement—as Plaintiffs’ alleged trade secrets. See RJN Decl. Ex. B, at 18 (’726
          12        publication, ¶¶ 2, 5); FAC ¶ 211. Indeed, the FAC alleges that the resultant ’052 patent
          13        “claims subject matter that Lamego obtained from discussions with” Plaintiffs. FAC
          14        ¶ 227 & Ex. 27. And, again, the Original Complaint alleged that the ’196 application,
          15        which published as the ’726 application, was the first example of an application that
          16        Lamego pursued on behalf of Apple based on his work at, and knowledge from,
          17        Plaintiffs, and which allegedly disclosed Plaintiffs’ confidential information “by
          18        September 2014.” Compl. ¶¶ 23–24, 186–187 (emphasis added).
          19              Now, after Apple raised the statute of limitations in its Motion to Dismiss the
          20        Original Complaint (Dkt. No. 16), Plaintiffs suddenly claim that they did not know about
          21        any disclosure until after January 10, 2017. FAC ¶¶ 219. The Court should not accept
          22        this new allegation because it “contradict[s] matters properly subject to judicial notice
          23        or by exhibit” (Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)),
          24        and also “contradict[s] [and] obfuscate[s] facts alleged in the prior pleading” (In re City
          25        of Los Angeles Med. Marijuana Litig., 2014 WL 12783295, at *3 (C.D. Cal. June 13,
          26        2014)). Plaintiffs provide no colorable explanation for their failure to act upon the ’726
          27        publication, nor do they allege that they were not monitoring patent filings involving
          28        Lamego and Apple. See Wang, 2014 WL 1410346, at *6 (“[I]nventor actively practicing

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            1       in the field and prosecuting his own patent application must be deemed to be on
            2       constructive notice of published patent applications in the same field”).
            3             Even if the Court accepts as true these newly manufactured allegations (it should
            4       not), the ’726 publication establishes that by March 3, 2016, Plaintiffs should have
            5       known about the alleged disclosure. The publication demonstrated that: (1) Lamego
            6       was employed by Apple in the field of physiological monitoring—in which Plaintiffs
            7       “expressed concern” (MGA Entm’t, 41 Cal. App. 5th at 565) that Lamego could not work
            8       without using their confidential information (FAC ¶ 23; RJN Decl. Ex. A, at 4–5);
            9       (2) Apple and Lamego did not agree to Plaintiffs’ 2014 demand that Lamego not work
          10        in the field (FAC Ex. 27; RJN Decl. Ex. B); and (3) Lamego purportedly was using their
          11        information in his work (FAC ¶ 227). Moreover, the ’726 publication relates to light
          12        emitter technology used for health monitoring to increase reliability of biological
          13        readings (RJN Decl. Ex. B, at 18 (’726 publication, ¶¶ 2, 5))—like the three other patent
          14        applications (the ’268, ’422, and ’664) that were published as patents after 2016 and are
          15        alleged to contain Plaintiffs’ trade secrets (FAC ¶¶ 40–42, 220).3            The FAC
          16        demonstrates that the ’726 publication was “in the same field as” Plaintiffs’ own
          17        supposedly misappropriated technology. Wang, 2014 WL 1410346, at *3. Accordingly,
          18        by March 3, 2016, Plaintiffs were on notice to investigate their trade secret claim, and
          19        the limitations period commenced by that date. See id. at *6; Bd. of Trustees of Leland
          20        Stanford Junior Univ. v. Roche Molecular Sys., Inc., 583 F.3d 832, 846 (Fed. Cir. 2009)
          21        (party was on notice regarding possible “additional patents as to the same subject
          22        matter,” even where the applications had not yet been filed), aff’d, 563 U.S. 776 (2011).
          23              2.     Plaintiffs Have Not Pleaded a Plausible Excuse for Their Delay.
          24              The “[FAC] show[s] on [its] face that [Plaintiffs’] claim would be barred without
          25        the benefit of the discovery rule” (Klang, 2014 WL 4922401, at *6), because Plaintiffs
          26        allege that Apple used their information when Lamego caused Apple to file patent
          27
          28         3
                      The corresponding patents are the ’754, ’997, and ’095 patents. FAC ¶¶ 40–42, 220,
                    Exs. 29–30. The FAC does not assert the ’997 patent against Apple.
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            1       applications relating to Plaintiffs’ technologies in 2014 (FAC ¶¶ 24, 39–42 & Exs. 29–
            2       30).   Plaintiffs’ burden is to prove facts that toll the statute of limitations—i.e.,
            3       “specifically plead[ed] facts to show (1) the time and manner of discovery and (2) the
            4       inability to have made earlier discovery despite reasonable diligence.” Klang, 2014 WL
            5       4922401, at *6; Fox v. Ethicon Endo-Surgery, 35 Cal. 4th 797, 808 (2005) (“the burden
            6       [is] on the plaintiff to ‘show diligence’”); see also Gabriel Techs., 857 F. Supp. 2d at
            7       1003 (same); Jud. Council of Cal. Civ. Jury Instr. (2019), No. 4421 (Plaintiffs must
            8       prove they “did not discover, nor with reasonable diligence should have discovered, facts
            9       that would have caused a reasonable person to suspect that [Defendant] had
          10        misappropriated [their information]”). Plaintiffs had to plead specific facts establishing
          11        that (1) despite their January 2014 letter to the contrary, they did not have reason to
          12        suspect Apple of misappropriation, and (2) despite the later-published patents, which
          13        purportedly put them on notice of their claim, they did not have reason to suspect the
          14        misappropriation from the ’726 publication relating to the same technology. Plaintiffs’
          15        alleged reasons why they could not have discovered Apple’s purported misappropriation
          16        before January 10, 2017, do not satisfy that burden.
          17               (i)   Plaintiffs’ purported reliance on Apple’s alleged non-response to their
          18        January 2014 “warning” letter is not reasonable. Plaintiffs claim that Apple and
          19        Lamego “led Plaintiffs to believe they intended to respect Plaintiffs’ intellectual property
          20        rights and concealed” Apple’s alleged misappropriation. FAC ¶ 220. Apple purportedly
          21        did so because “Plaintiffs notified [Apple] that Lamego possessed the Confidential
          22        Information on January 24, 2014,” and Apple “never informed [them] that Lamego had
          23        used or disclosed” that information. Id. Significantly, Plaintiffs do not allege (1) that
          24        Apple responded to the January 2014 “warning letter” (FAC ¶ 23), or (2) any facts
          25        suggesting that Apple misled them. Instead, Plaintiffs implausibly allege that they “had
          26        no reason to suspect or believe that [Apple] had ignored Plaintiffs’ letter.” Id. ¶ 219.
          27        Plaintiffs’ claim that they simply interpreted Apple’s ostensible silence as agreement to
          28        the demands in their letter fails. Cf. Wolf v. Travolta, 167 F. Supp. 3d 1077, 1096 (C.D.

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            1       Cal. 2016) (plaintiff’s “purported inability to discover [copyright] infringement”
            2       unreasonable where investigation of suspicions involved asking defendant, his associate,
            3       and an employee of the organization with which they were working whether they had
            4       infringed, and infringer denied wrongdoing).4
            5             (ii)    Lamego’s alleged representations are irrelevant. Plaintiffs also assert that
            6       Lamego “assured Plaintiffs that he would not violate his agreements with [them]” or
            7       “work on technology similar to Plaintiffs’.” FAC ¶ 23. Based in part on “conversations
            8       with Lamego,” Plaintiffs claim they “reasonably believed” he “would not use or disclose
            9       Plaintiffs’ confidential information and that [Apple] would not induce [him] to do so.”
          10        FAC ¶ 23. But whatever supposed promises Lamego made in his personal capacity are
          11        irrelevant, because Lamego is not Apple; nor have Plaintiffs alleged facts plausibly
          12        establishing that his statements can be attributed to Apple. See Citizens’ Nat. Bank of
          13        Los Angeles v. Santa Rita Hotel Co., 22 F.2d 524, 528 (9th Cir. 1927) (“[W]here one
          14        deals with an agent concerning a matter affecting his personal interest, he is not justified
          15        in relying upon the agent’s statements and actions as being those of the principal . . . .”);
          16        Am. Hardware Mut. Ins. Co. v. Escamilla, 2010 WL 11574194, at *3 (N.D. Cal. Sept.
          17        30, 2010) (“The burden of proving agency,” and “the agent’s authority, rests upon the
          18        party . . . who seeks to charge the principal for the acts or representations of the agent.”).
          19              (iii)   Masimo’s unidentified agreement with Apple only underscores the
          20        implausibility of Plaintiffs’ delayed discovery claim. Plaintiffs also claim that based on
          21        Masimo’s purported confidentiality agreement with Apple, they reasonably believed
          22        Apple would not induce Lamego to use their confidential information or do so itself.
          23        FAC ¶ 23. Plaintiffs do not attach the agreement to their FAC; nor do they allege what
          24        it covered. Id. ¶ 19. Plaintiffs have failed to plead the agreement’s material terms, and
          25        therefore the agreement cannot form the basis for their delayed discovery claim. Cf.
          26
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                       Plaintiffs’ implausible allegation that they “had no reason to suspect” the alleged
          28        misappropriation (FAC ¶ 219) concedes that suspicion triggers the limitations period.
                    Forcier, 123 F. Supp. 2d at 530–31; Fox, 35 Cal. 4th at 808.
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            1       Webpass Inc. v. Banth, 2014 WL 7206695, at *4 (N.D. Cal. Dec. 18, 2014) (dismissing
            2       claim based on defendant’s alleged breach of plaintiff’s confidentiality and non-
            3       disclosure policy where plaintiff failed to allege the material terms of that policy).
            4             (iv)   It is irrelevant that the first product “at issue” was announced in 2018.
            5       Plaintiffs claim that they “had no way of knowing, or learning,” of Apple’s alleged
            6       misappropriation prior to January 10, 2017 because “the first [Apple] product at issue
            7       was not announced until 2018” (FAC ¶ 219). This is wrong as a matter of law.
            8             Plaintiffs admit that they demanded in January 2014 that Lamego not work on
            9       technology similar to Plaintiffs’—or in the “healthcare technology” space at all. Id.
          10        ¶ 23. But the FAC reveals that (i) in September 2014, Apple announced the first version
          11        of the Apple Watch—an ostensibly competing, and indisputably similar product to the
          12        allegedly infringing Series 4 Watch (id. ¶ 25); (ii) in April 2015, Apple began shipping
          13        the Watch (id.); and (iii) on March 3, 2016, the ’726 publication put Plaintiffs on notice
          14        that Apple had rejected their demand that Lamego not work on healthcare monitoring
          15        technology (id. Ex. 27, at 1154 (’052 patent, 1:16–18, 1:45–48); RJN Decl. Ex. B, at 18
          16        (’726 publication, ¶¶ 2, 5)). The FAC also discloses that Masimo has “numerous U.S.
          17        patents” in “noninvasive patient monitoring technologies,” and Plaintiffs have
          18        aggressively defended their intellectual property (e.g., patent) rights since 2014. See
          19        FAC ¶¶ 13, 23. Each of these alleged facts alone puts Plaintiffs on notice of a potential
          20        claim. Cf. Reese v. TracFone Wireless, Inc., 2014 WL 1872175, at *4 (C.D. Cal. May
          21        9, 2014) (“Significant ‘sales, marketing, publication, or public use of a product similar
          22        to or embodying technology similar to the patented invention . . . gives rise to a duty to
          23        investigate whether there is infringement.’”); Wang, 2014 WL 1410346, at *6 (an entity
          24        “actively practicing in the field and prosecuting [its] own patent application must be
          25        deemed to be on constructive notice of published patent applications in the same field”).
          26              (v)    The FAC and the ’726 publication highlight the unreasonableness of
          27        Plaintiffs’ inaction and implausibility of their discovery claim. Plaintiffs also assert,
          28        on information and belief, that Apple “requested non-publication of [certain patent]

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            1       applications to prevent Plaintiffs from learning” that (1) “those applications contained
            2       [their] Confidential Information,” and (2) that Apple allegedly misappropriated that
            3       information. FAC ¶ 220. But courts bar misappropriation claims where (1) the plaintiff
            4       suspected the defendant of misappropriation, (2) a term search would have revealed the
            5       subject patent application, and (3) the plaintiff “had done patent searches on the
            6       technology of its competitors before.” Alamar, 1996 WL 648286, at *5–6.
            7               Here, in addition to the many admissions discussed above, eight of Masimo’s
            8       asserted patents name Lamego as an inventor,5 and at least one cites 56 prior patents and
            9       patent applications naming Lamego as an inventor.6 It defies common sense that
          10        Plaintiffs would not have (i) suspected that Lamego was involved with filing multiple
          11        patent applications on Apple’s behalf, or (ii) searched such filings once they learned in
          12        January 2014 that Lamego was working for Apple, particularly because they ostensibly
          13        “[s]earch[ed] for existing intellectual property rights,” including competitors’ patent
          14        filings. RJN Decl. Ex. C, at 64. “In these circumstances, a reasonable plaintiff is
          15        required to take the elementary step of checking all readily available patent applications”
          16        to avoid a limitations bar. Alamar, 1996 WL 648286, at *5–6.
          17                That Plaintiffs now claim the ’726 publication does not disclose their trade secrets
          18        is of no moment, since the publication describes technology Lamego purportedly could
          19        not work on without using their confidential information, and relates to technology
          20        described in three other applications that Plaintiffs claim do contain their trade secrets.
          21        FAC ¶¶ 39–42, 220; RJN Decl. Ex. A, at 4–5; RJN Decl. Ex. D, at 163–64 (True
          22        Wearables Am. Compl. ¶ 37). Thus, even accepting as true Plaintiffs’ recent, feigned
          23        ignorance, they have not met their burden to show that they could not have discovered
          24        their claim. Klang, 2014 WL 4922401, at *4; MGA Entm’t, 41 Cal. App. 5th at 561
          25        (“plaintiff need not be aware of the specific ‘facts’ necessary to establish the claim; that
          26
          27
                     5
                         FAC Exs. 1–6, 11–12 (the ’265, ’266, ’628, ’708, ’190, ’191, ’553, and ’554 patents).
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                     6
                         FAC Ex. 12, at 881–93 (’554 patent, citing Lamego as inventor 56 times).

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            1       is a process contemplated by pretrial discovery”) (citation omitted).7
            2             Finally, Plaintiffs’ non-publication theory makes no sense.         If Apple were
            3       attempting to hide Lamego’s work on healthcare monitoring technologies, it would not
            4       have permitted publication of any patent application in that field naming Lamego as an
            5       inventor—yet it did just that. RJN Decl. Ex. B. Plaintiffs have no explanation for these
            6       inconsistent allegations; their conclusory allegations of concealment fail. Eclectic
            7       Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996–97 (9th Cir. 2014)
            8       (complaint must allege “facts tending to exclude the possibility” that an “alternative
            9       explanation is true”); Veronica Foods Co. v. Ecklin, 2017 WL 2806706, at *14 (N.D.
          10        Cal. June 29, 2017) (alleged “facts that are not ‘merely consistent with’ both a theory of
          11        innocent [conduct] and [misappropriation], but rather ‘tend[ ] to exclude’ an innocent
          12        explanation” required to survive motion to dismiss).
          13        B.    Plaintiffs Fail to Allege Any Protectable Trade Secrets.
          14              “To adequately allege the existence of a trade secret, the plaintiff must describe
          15        the trade secret with sufficient particularity to separate it from matters of general
          16        knowledge in the trade . . . and to permit the defendant to ascertain at least the
          17        boundaries within which the secret lies.” Acrisure of Cal., LLC v. SoCal Commercial
          18        Ins. Servs., 2019 WL 4137618, at *3 (C.D. Cal. Mar. 27, 2019) (citation omitted).
          19        “[A]llegations of broad categories relating to business or technology are not adequate to
          20        support a trade secrets claim.” Human Longevity, Inc. v. J. Craig Venter Inst., Inc., 2018
          21        WL 6617633, at *4 (S.D. Cal. Dec. 18, 2018); see also Bladeroom Grp. Ltd. v.
          22        Facebook, Inc., 2015 WL 8028294, at *3 (N.D. Cal. Dec. 7, 2015) (“generic list of
          23        categories of various types of information” was “vague and conclusory” and
          24        insufficient). For these reasons, a CUTSA claim should be dismissed where, as here,
          25        Plaintiffs simply plead “a high-level overview of . . . purported trade secrets.” Space
          26        Data Corp. v. X, 2017 WL 5013363, at *2 (N.D. Cal. Feb. 16, 2017).
          27
          28         7
                       The Court should not accept Plaintiffs’ newfound allegations of ignorance, because
                    they contradict the Original Complaint. Los Angeles, 2014 WL 12783295, at *3.
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Crutcher LLP        MEMO. ISO APPLE’S MOT. TO DISMISS THE
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            1             Plaintiffs allege that they own over 50 categories of supposed trade secrets that
            2       “include, but are not limited to, . . . technical information, sales and marketing
            3       information, and other business information relating to non-invasive monitoring of
            4       physiological parameters and products to perform such monitoring.” FAC ¶ 211. Such
            5       “sweeping and vague” “references to an enormous array of potential sources” of
            6       information are insufficient to survive a motion to dismiss. Synopsys, 2013 WL
            7       5770542, at *6 (N.D. Cal. Oct. 24, 2013) (description of information “relate[d] to [the
            8       plaintiffs’] products,” including “proprietary input and output formats, scripts, and
            9       technical product documentation, which generally are not publicly known” too vague);
          10        see, e.g., Human Longevity, 2018 WL 6617633, at *5 (dismissing where “allegations of
          11        [trade secrets] are expansive and lack particularity”); Acrisure of Cal., 2019 WL
          12        4137618, at *3 (“[t]he Ninth Circuit has rejected the use of ‘catchall’ language,” as
          13        insufficiently specific “because it does not clearly refer to tangible trade secret material”
          14        (citations omitted)). Plaintiffs’ pleading deficiency is even more egregious here because
          15        they allege that the Apple Watch “includes Plaintiffs’ technologies” (FAC ¶ 25), and
          16        that their trade secrets were purportedly published in Apple’s patent applications and
          17        patents (FAC ¶ 219).8 Compounding the lack of particularity is Plaintiffs’ inclusion of
          18        “secrets” for which they have not alleged misappropriation. See, e.g., FAC ¶ 211 (listing
          19        “risk analysis,” “customer information,” “sales pipelines,” “proposal and quote
          20        generation tools,” “personnel information,” “supplier information,” and “spreadsheets,”
          21        which plainly cannot be incorporated into Apple’s patent applications or its Watch).
          22              1.     Plaintiffs’ Broad Allegations Fail under Fed. R. Civ. Proc. 8.
          23              “Technical Information”: This category “includes product plans, engineering
          24        plans, product briefs, technical drawings, technical specifications, technical data,
          25        product designs, system designs, design captures, assembly design requirements, risk
          26
          27         8
                       Plaintiffs allege that their trade secrets “derive[] independent economic value”
                    because they were, “at the time of . . . misappropriation, not generally known to the
          28        public” (FAC ¶ 213), but Plaintiffs’ vague description of their alleged trade secrets do
                    not allow the Court or Apple to determine what value any such trade secret may possess.
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Crutcher LLP        MEMO. ISO APPLE’S MOT. TO DISMISS THE
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            1       analysis, test procedures and results, test data, design review documents, software
            2       requirement specifications, technical know-how, manufacturing techniques and
            3       procedures, installation techniques and procedures, and invention disclosures.” FAC
            4       ¶ 211. This list references “just about every piece of material Plaintiff[s] ha[ve] ever
            5       created or acquired” (Synopsys, Inc., 2013 WL 5770542, at *8), and merely
            6       “summarize[s] rather broadly the categories of information” that any product manager
            7       in virtually any technology company could use to design products—thus failing to
            8       sufficiently identify the alleged trade secrets under Rule 8 (AlterG, Inc. v. Boost
            9       Treadmills LLC, 388 F. Supp. 3d 1133, 1145–46 (N.D. Cal. 2019) (granting motion to
          10        dismiss DTSA claim where alleged trade secrets “includ[ed] ‘techniques, sketches,
          11        drawings, models, inventions, know-how, processes, apparatus, equipment, algorithms,
          12        software programs, software source documents, and formulae related to the current,
          13        future and proposed products and services of the Company, and includes, without
          14        limitation, its respective information concerning research, experimental work,
          15        development, design details, and specifications, engineering [information]’”)). See
          16        Becton, Dickinson & Co. v. Cytek Biosciences Inc., 2018 WL 2298500, at *3 (N.D. Cal.
          17        May 21, 2018) (allegations of “design review templates,” “fluidics design files,” or
          18        “source code files” lacked particularity, especially when “preceded by the phrases ‘such
          19        files included’ and ‘such as’”). In addition, because Plaintiffs allege that their trade
          20        secrets include “manufacturing techniques” (FAC ¶ 211), they “must not only identify
          21        the end product manufactured, but also supply sufficient data concerning the process.”
          22        Diodes v. Franzen, 260 Cal. App. 2d 244, 253 (Cal. Ct. App. 1968). Plaintiffs have not.
          23              “Sales and Marketing Information”: This category “includes product plans”—
          24        notably not distinguished from “product plans” identified as “Technical Information”
          25        above—“business plans, customer information, sales pipelines, proposal and quote
          26        generation tools, pricing models, pricing schedules, sales training materials, product
          27        training materials, marketing and launch plans, marketing analysis, and competitive
          28        analysis.” FAC ¶ 211. But a “Complaint does not sufficiently put Defendants on notice

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            1       of what trade secrets they allegedly misappropriated,” where it “lacks any description of
            2       what th[e] confidential information entails beyond general labels” such as “business
            3       model, business plans, recipes, processes and systems, POS System, means of
            4       identifying potential customers and markets, identification of customers’ needs,
            5       customers’ buying habits, . . . marketing plans, strategies, [and] forecasts.” Green Crush
            6       LLC v. Paradise Splash I, Inc., 2018 WL 4940824, at *5 (C.D. Cal. Mar. 8, 2018)
            7       (granting motion to dismiss); see Vendavo, 2018 WL 1456697, at *3 (information that
            8       “includes . . . customer lists and customer related information, pricing information, . . .
            9       marketing plans and strategic business development initiatives, . . . and other
          10        information related to the development of [Plaintiff’s] price-optimization software,
          11        including ideas and plans for product enhancements” is too “broad” to state a trade secret
          12        claim); AlterG, Inc., 388 F. Supp. 3d at 1145–46 (information concerning “procurement
          13        requirements, purchasing manufacturing, customer lists, business forecasts, sales, and
          14        merchandising and marketing plans and information” insufficient to state DTSA claim);
          15        Human Longevity, 2018 WL 6617633, at *5 (dismissing DTSA claim based on “identity
          16        and contact information [for] financing . . . sources” or “of clients and potential
          17        client[s],” “negotiating . . . strategies for potential transactions,” “industry reports,”
          18        “analysis of market competitors,” and potential expansion “plans, [and] projections”).
          19              “Other Business Information”:          This category “includes information for
          20        successfully operating a noninvasive patient monitoring company, including personnel
          21        information, supplier information, and other business spreadsheets and analysis.” FAC
          22        ¶ 211. These allegations are even less specific than the “general labels” such as “vendor
          23        identities,” “unpublished financial information,” and “budgets and projections” that this
          24        Court rejected in Green Crush. 2018 WL 4940824, at *5; see Vendavo, 2018 WL
          25        1456697, at *3 (rejecting as too “broad” identification of trade secrets that included
          26        “vendor lists and related information”); Human Longevity, 2018 WL 6617633, at *5
          27        (dismissing DTSA claim where alleged trade secrets of “employee contact and
          28        compensation information” and “internal financial reports” “lack[ed] particularity”).

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            1             “Combinations”:       Plaintiffs also claim as trade secrets “combinations and
            2       selections of the above information, and knowledge of the varying importance of the
            3       information.”    FAC ¶ 211.     Plaintiffs, however, have not described the potential
            4       combinations of items in their catch-all description with sufficient particularity to enable
            5       either the Court or Apple to “ascertain which specific elements [Apple] is accused of
            6       misappropriating.” InteliClear, LLC v. ETC Glob. Holdings, Inc., 2019 WL 4233578,
            7       at *4 (C.D. Cal. June 28, 2019) (summary judgment granted where potentially “unique
            8       combination[s] of . . . known elements” were pleaded with insufficient specificity); see
            9       also VIA Techs., Inc. (a Cal. Corp.) v. Asus Computer Int’l, 2016 WL 5930280, at *3
          10        (N.D. Cal. Oct. 12, 2016) (“the Court or defendants [could not] identify” which
          11        “arrangements” were claimed trade secrets without a sufficiently particular “descri[ption
          12        of] how the combination of features . . . constitutes a trade secret”).
          13              “Knowledge”:      Plaintiffs further claim that “knowledge for selecting which
          14        information and technology are important for improving reliability, improving
          15        measurements, and how to successfully combine and implement them to achieve the
          16        desired functionality” is their trade secret. FAC ¶ 211. But “[i]f the principal person
          17        who can obtain economic benefit from information is aware of it, there is no trade
          18        secret.”   Cal. Civ. Code § 3426.1, 1984 Legis. Comm. Comments—Senate.                  For
          19        example, “[a] method of casting metal . . . may be unknown to the general public but
          20        readily known within the foundry industry;” so it cannot be a trade secret. Id.
          21              Here, the FAC provides no guidance as to “where the boundary between th[e]se
          22        secrets and general knowledge might lie.”         Synopsys, 2013 WL 5770542, at *6.
          23        Consistent with Plaintiffs’ unlawful demand that Lamego not be permitted to work in
          24        the “healthcare technology” industry at all (FAC ¶ 23; RJN Decl. Ex. A, at 5; see Cal.
          25        Bus. & Prof. Code § 16600), Plaintiffs improperly claim as their intellectual property
          26        any information Lamego (or any other former Masimo and/or Cercacor employee)
          27        learned while in Plaintiffs’ employ. Universal Analytics, Inc. v. MacNeal-Schwendler
          28        Corp., 707 F. Supp. 1170, 1177–78 (C.D. Cal. 1989), aff’d, 914 F.2d 1256 (9th Cir.

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            1       1990) (knowledge “developed as a result of long employment in the particular trade may
            2       be carried over and put to use by the new employer”). Neither California law nor the
            3       Courts of this Circuit permit a Plaintiff to allege misappropriation based on a theory that
            4       a former employee inevitably will disclose general information learned during his
            5       former employment. Globespan, Inc. v. O’Neill, 151 F. Supp. 2d 1229, 1235 (C.D. Cal.
            6       2001) (granting motion to dismiss); Whyte v. Schlage Lock Co., 101 Cal. App. 4th 1443,
            7       1463 (Cal. Ct. App. 2002).
            8             “Negative Information”:         Finally, Plaintiffs claim that their “negative
            9       information, what works well under certain conditions, and trade-offs of selecting
          10        certain techniques” is a trade secret. FAC ¶ 211. Such a boilerplate description of trade
          11        secrets as “‘negative knowhow’ learned through the course of research and
          12        development” is insufficient to satisfy Rule 8. Vendavo, 2018 WL 1456697, at *3.
          13              2.     Plaintiffs Have Not Distinguished Their Trade Secrets from Patents.
          14              A motion to dismiss should be granted where the plaintiff alleges that “[s]ome
          15        aspects” of its “know-how, design, supply chain, [and] fabrication . . . techniques” “are
          16        the subject of granted patents and pending patent applications,” but does not describe
          17        “which aspects are publicly known and which are not.” Bladeroom, 2015 WL 8028294,
          18        at *1, *4; Space Data Corp., 2017 WL 5013363, at *2 (granting motion to dismiss for
          19        failure to plead “which aspects of [the] technology and other information are ‘part of
          20        patents and pending patent applications,’ if any, and which are secret”).
          21              Here, after alleging that Masimo has “received numerous U.S. patents” for
          22        “noninvasive patient monitoring technologies,” Plaintiffs vaguely allege that they “also
          23        maintain[] some technology as trade secrets” and “closely guard[ their] future product
          24        and market plans.” FAC ¶¶ 13, 17 (emphasis added). The FAC also alleges that Apple
          25        infringes twelve of Masimo’s patents, all of which are directed to “noninvasive methods,
          26        devices, and systems for measuring various blood constituents.” E.g., FAC Ex. 1, at 95
          27        (’265 patent, Abstract). But, in their “description” of their “trade secrets,” Plaintiffs
          28        make no effort to differentiate between those secrets and their patented information. See

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            1       FAC ¶ 211 (alleging “trade secrets that include, but are not limited to, Plaintiffs’
            2       technical information . . . relating to non-invasive monitoring of physiological
            3       parameters and products to perform such monitoring” (emphasis added)). To the
            4       contrary, by including “invention disclosures” in the description of trade secrets (id.),
            5       the description on its face fails to “delineate the boundaries between [the] trade secrets”
            6       and Plaintiffs’ “information that has been made public through patents and patent
            7       applications,” AlterG, 388 F. Supp. 3d at 1146 (dismissing DTSA claim).
            8             Further compounding these deficiencies is the FAC’s failure to delineate which
            9       trade secrets are owned by whom—let alone how each trade secret was misappropriated.
          10        FAC ¶ 211; id. ¶ 218 (alleging Apple’s patent applications contain both Plaintiffs’
          11        information). Apple has been deprived notice of what each Plaintiff claims are trade
          12        secrets, which affects Apple’s purported duties with respect to the information.
          13              Plaintiffs have not described the trade secrets with sufficient particularity to put
          14        either the Court or Apple on notice of “where trade secret protection begins and ends.”
          15        Synopsys, 2013 WL 5770542, at *6. The misappropriation claim must be dismissed.9
          16        C.    Plaintiffs Fail to Allege Misappropriation by “Improper Means.”
          17              Plaintiffs’ theory of misappropriation—alleged on “information and belief” (FAC
          18        ¶ 217)—is that Apple, without their consent, “used and disclosed” their “Confidential
          19        Information at least by incorporating it into [Apple’s] products and by filing patent
          20        applications containing [it]” (id. ¶ 218). This theory is not supported by alleged facts.
          21              1.     Plaintiffs Fail to Allege Improper Acquisition.
          22              To allege misappropriation by acquisition, Plaintiffs must allege that Apple
          23        acquired their trade secret(s) and knew or had reason to know that the trade secret was
          24        acquired by “improper means.” Cal. Civ. Code § 3426.1(b)(1). “‘Improper means’
          25        includes theft, bribery, misrepresentation, breach or inducement of a breach of a duty to
          26        maintain secrecy, or espionage . . . .” Id. § subd.(a). To allege misappropriation by use
          27
          28         9
                       At a minimum, the Court should dismiss as to the trade secrets inadequately pleaded.
                    Citcon USA, LLC v. RiverPay, Inc., 2018 WL 6813211 (N.D. Cal. Dec. 27, 2018).
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Crutcher LLP        MEMO. ISO APPLE’S MOT. TO DISMISS THE
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            1       or disclosure, Plaintiffs must allege that Apple used or disclosed their alleged trade
            2       secrets without consent, and that Apple “[u]sed improper means” to acquire those
            3       secrets, or knew or should have known that its knowledge was:
            4             (i) Derived from . . . a person who had utilized improper means to acquire it; (ii)
                          Acquired under circumstances giving rise to a duty to maintain its secrecy . . .;
            5             or (iii) Derived from . . . a person who owed a duty to the person seeking relief
                          to maintain its secrecy. [Id. § 3426.1(b)(2)(A)–(B).]
            6
                          With respect to acquisition, Plaintiffs do not allege facts to plausibly claim that
            7
                    Apple knew or had reason to know that any purported acquisition of Plaintiffs’ alleged
            8
                    trade secrets was by improper means. S. Cal. Inst. of Law v. TCS Educ. Sys., 2011 WL
            9
                    1296602, at *7 (C.D. Cal. Apr. 5, 2011) (“Alleging mere possession of trade secrets is
          10
                    not enough.” (internal alteration omitted)). Plaintiffs do not allege facts plausibly
          11
                    establishing Apple’s knowledge that either Lamego or O’Reilly had a duty to maintain
          12
                    confidentiality of specific information purportedly shared with Apple, or that Apple
          13
                    knew such information was confidential. FAC ¶¶ 215–16, 218. Instead, Plaintiffs allege
          14
                    that Apple “knew” that (1) “Lamego was the [CTO] of Cercacor and a Research Scientist
          15
                    at Masimo;” (2) “Lamego was under a duty to maintain the secrecy of the information
          16
                    he obtained from Plaintiffs” under his “employer-employee relationship, fiduciary
          17
                    relationship, and Lamego’s employment agreements;” and (3) “Plaintiffs considered the
          18
                    information confidential by virtue of [Apple’s] prior relationship with Plaintiffs.” Id.
          19
                    ¶ 216. These allegations do not support a plausible inference of misappropriation.
          20
                          (i)   Apple’s hiring of Plaintiffs’ former employees is not improper. Under the
          21
                    CUTSA and the law of this Circuit, “a party cannot prove trade secret misappropriation
          22
                    by demonstrating that a former employee’s new employment will inevitably lead the
          23
                    former employee to rely on the former employer’s trade secrets.” Pellerin v. Honeywell
          24
                    Int’l, Inc., 877 F. Supp. 2d 983, 989 (S.D. Cal. 2012); see Les Concierges, Inc. v.
          25
                    Robeson, 2009 WL 1138561, at *2 (N.D. Cal. Apr. 27, 2009) (“a threat of
          26
                    misappropriation cannot, as a matter of California law, be inferred [because the
          27
                    employee], upon voluntarily terminating his employment . . ., immediately began
          28

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            1       working for a direct competitor and appears to be performing . . . the same or similar job
            2       duties he performed” for plaintiff). Yet this is precisely what Plaintiffs attempt to do.
            3             As to Lamego, Plaintiffs allege that he had “access to [their] highly confidential
            4       technical information,” “learned guarded secrets regarding Plaintiffs’ mobile medical
            5       products” while employed by them, and purportedly possessed unspecified confidential
            6       information after he left. FAC ¶¶ 22–23 (emphasis added). Plaintiffs do not allege that
            7       Lamego improperly took specific trade secrets or failed to return them. The allegations
            8       concerning O’Reilly are even more speculative. O’Reilly apparently did not even have
            9       access to trade secrets. Plaintiffs merely allege that O’Reilly was “privy to [Masimo’s]
          10        extremely sensitive information.” Id. ¶ 20 (emphasis added).
          11              Without plausible factual allegations that either Lamego, O’Reilly, or one of the
          12        other unidentified former employees improperly acquired trade secrets, the FAC cannot
          13        plausibly allege that Apple improperly acquired (or used or disclosed) those secrets,
          14        because Plaintiffs’ former employees are the only links alleged between Plaintiffs and
          15        Apple.       Cf. Human Longevity, Inc., 2018 WL 6617633, at *6 (DTSA claim
          16        “inadequate[ly]” pleaded where based on theory that defendant who had access to trade
          17        secrets while in plaintiff’s employ must have disclosed that information when he started
          18        working for competitor and began “development of a program to compete with” his
          19        former employer). That Lamego and O’Reilly continued to work in the “healthcare
          20        technology” field is irrelevant to Plaintiffs’ CUTSA claim—an employee is entitled to
          21        carry over knowledge learned in a particular trade. Universal, 707 F.Supp. at 1177–78.
          22              (ii)     Lamego’s undefined “duty” per the January 2014 “warning” letter does
          23        not establish a plausible basis for Apple’s alleged improper acquisition. Plaintiffs
          24        attempt to charge Apple with knowledge of their unspecified “confidential” information
          25        by alleging that they sent Apple “a copy of Lamego’s Employee Confidentiality
          26        Agreement with Cercacor.” FAC ¶ 216. But the “warning” letter only underscores that
          27        Plaintiffs did not give Apple notice of the bounds of their purported trade secrets. RJN
          28        Decl. Ex. A. It describes “Confidential Information” as “any information in any form”

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            1       that Cercacor or its “affiliates” “consider[] confidential, including without limitation”:
            2             business plans, customer files, customer lists, supplier lists, sales and marketing
            3             reports, forecasts, strategies, technical data, prices and costs, designs and
                          formulas, discoveries, processes, manufacturing techniques, know-how,
            4             improvements, ideas or copyrightable works, software, databases, personnel and
            5             payroll records, mailing lists, accounting records, works of authorship, inventions,
                          trade secrets and other business information. [Id. at 6 (emphasis added).]
            6
                    For this reason, Plaintiffs’ claim that Apple “induced” a breach of Lamego’s
            7
                    confidentiality obligations fails. Apple could not induce Lamego to breach an agreement
            8
                    whose parameters are undefined.         Cf. Invisible Dot, Inc. v. DeDecker, 2019 WL
            9
                    1718621, at *5 (C.D. Cal. Feb. 6, 2019) (“[T]his laundry list of items separated by
          10
                    ellipses—presumably quoted from one of the several agreements that DeDecker
          11
                    signed . . . does not meaningfully define the trade secrets.”). In addition, Plaintiffs allege
          12
                    absolutely no facts describing how Apple purportedly induced such a breach. See FAC
          13
                    ¶ 216; ATS Prods., Inc. v. Champion Fiberglass, Inc., 2015 WL 6552698, at *3 (N.D.
          14
                    Cal. Oct. 28, 2015) (granting motion to dismiss because “nowhere in its complaint does
          15
                    [plaintiff] allege any facts that would allow the Court to infer that [defendant] knew or
          16
                    should have known that [the] trade secrets were misappropriated”); Carr v. AutoNation
          17
                    Inc., 2018 WL 288018, at *3 (E.D. Cal. Jan. 4, 2018) (dismissing trade secrets claim
          18
                    where “conclus[ory] allegations do not explain how LKQ got the Business Plan (or its
          19
                    contents) from AutoNation, and what specifically would have caused LKQ to know or
          20
                    have reason to know that AutoNation’s possession of the Business plan was wrongful”).
          21
                          Relatedly, that “Lamego knew or had reason to know” that “his knowledge of
          22
                    Plaintiffs’ Confidential Information was acquired under . . . a duty to maintain its
          23
                    secrecy and limit its use” is irrelevant as to Apple’s state of mind. FAC ¶ 217 (emphasis
          24
                    added). This allegation fails to plausibly allege improper acquisition by Apple, because
          25
                    any purported “passive reception” of trade secrets (there was none) is not “acquisition”
          26
                    under the CUTSA. Silvaco Data Sys. v. Intel Corp., 184 Cal. App. 4th 210, 223 (Cal.
          27
                    Ct. App. 2010) (“The choice of that term [‘acquire’] over ‘receive’ suggests that
          28

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            1       inadvertently coming into possession of a trade secret will not constitute acquisition.”),
            2       overruled on other grounds by Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310 (Cal. 2011);
            3       Pellerin, 877 F. Supp. 2d at 989 (mere possession of trade secrets is not enough).
            4             (iii)   Any agreements with Apple are insufficiently pleaded to establish
            5       “improper acquisition.” Plaintiffs allege that in 2013, Apple and Masimo entered into
            6       a confidentiality agreement for a potential collaboration and thereafter “confidential[ly]”
            7       discussed Masimo’s technology. FAC ¶ 19. The FAC does not allege (1) that Apple
            8       breached that agreement, (2) what the agreement covered, (3) whether Apple actually
            9       received any specific confidential information, and (4) if so, what Apple was entitled to
          10        do with it. Id. Nor does it attach the agreement. Plaintiffs have failed to plead the
          11        material terms of the contract between Apple and Masimo; in turn, that contract cannot
          12        serve as a basis for Apple’s supposed knowledge that Plaintiffs’ unspecified information
          13        was confidential or could not be acquired, used, or disclosed. Zora Analytics, LLC v.
          14        Sakhamuri, 2013 WL 12124612, at *5 (S.D. Cal. June 18, 2013) (dismissing claim
          15        where plaintiff “failed to adequately plead the terms of the NDA”; “[d]etermining
          16        whether [defendant] has violated a NDA . . . is difficult without at least alleging the
          17        NDA’s material terms”); Space Data, 2017 WL 5013363, at *2 (“Google received the
          18        alleged trade secrets pursuant to the NDA. Accordingly, Space Data must plead facts
          19        showing that Google had a duty not to use the information in the way alleged.”).
          20              The FAC does not even allege that Apple had a confidentiality agreement with
          21        Cercacor. The only plausible inference to draw from the omissions is that there was no
          22        breach—i.e., that any supposed acquisition, use, or disclosure by Apple was permitted
          23        by any agreement that existed. Cf. Zomm, LLC v. Apple Inc., 391 F. Supp. 3d. 946, 952
          24        (N.D. Cal. 2019) (dismissing breach claims where confidentiality provisions allowed
          25        use of information that could be derived from reverse engineering or prior patents).
          26              2.      Plaintiffs Fail to Allege Improper Disclosure or Use by Apple.
          27              Plaintiffs also fail to plausibly allege Apple’s improper use or disclosure of their
          28        alleged trade secrets. To survive a Rule 12(b)(6) motion, a plaintiff must “plead[] factual

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            1       content that allows the court to draw the reasonable inference that the defendant is liable
            2       for the misconduct alleged.” Iqbal, 556 U.S. at 678 (emphases added). Here, Plaintiffs
            3       allege that “Lamego used and disclosed” their information for Apple’s benefit, and that
            4       Apple “further used and disclosed” Plaintiffs’ information “at least by incorporating it
            5       into [Apple’s] products and by filing patent applications containing” that information,
            6       without their “express or implied consent.” FAC ¶¶ 217–18 (asserting, on information
            7       and belief, unauthorized use/disclosure of information obtained from Plaintiffs and their
            8       unspecified former employees); ¶ 215 (similar allegations on information and belief).
            9             These conclusory allegations fail to identify how Apple knew which specific
          10        “Confidential Information” it purportedly used—let alone how the information allegedly
          11        was incorporated into Apple’s products or patent applications. E.g., MedioStream, Inc.
          12        v. Microsoft Corp., 869 F. Supp. 2d 1095, 1114 (N.D. Cal. 2012) (dismissing trade
          13        secrets claims because plaintiff did not sufficiently allege that defendant, which had
          14        received technology from a third party under contract with plaintiff, knew the third party
          15        was not authorized to provide that technology). Plaintiffs fail to allege any plausible
          16        facts supporting their disclosure/use allegations, and for this reason too, their trade secret
          17        claim fails. Delphix Corp. v. Actifo, Inc., 2014 WL 4628490, at *2 (N.D. Cal. Mar. 19,
          18        2014) (dismissing complaint in part because allegation “on information and belief” gave
          19        rise to “reasonable inference . . . that it is intended as caveat,” and “creates a further
          20        inference that plaintiff . . . is instead engaging in speculation to an undue degree”).
          21        D.    Plaintiffs Should Be Denied Leave to Amend Their CUTSA Claim.
          22              Plaintiffs have now had two chances to plead: (1) a timely trade secret claim; (2)
          23        cognizable trade secrets; and (3) improper acquisition, use, and/or disclosure by Apple.
          24        They have failed, and so their FAC should be dismissed with prejudice. Klamath-Lake
          25        Pharma. Ass’n v. Klamath Med. Serv. Bureau, 701 F.2d 1276, 1293 (9th Cir. 1983).
          26                                          V.     CONCLUSION
          27              Apple respectfully requests that the Court dismiss Plaintiffs’ Thirteenth Cause of
          28        Action for trade secret misappropriation under the CUTSA with prejudice.

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